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EXHIBIT A
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                               Master Services Agreement
THIS AGREEMENT made and entered into on this XXth day of XXX, 2014 ("Effective Date")
by and between Amarex Clinical Research, LLC, a for-profit Maryland limited liability company
with its principle place of business at 20201 Century Boulevard, Germantown, MD 20874
("Amarex") and CytoDyn Inc. ("CytoDyn") a corporation with its principle place of business at
1111 Main Street, Suite 660, Vancouver, WA 98660.

                                           WITNESSETH

      WHEREAS, CytoDyn is engaged in research and development of pharmaceutical products;
and


   WHEREAS, Amarex, a contract research organization, is engaged in the business of
providing clinical trial management services and consulting; and

    WHEREAS, Amarex desires to provide CytoDyn with certain clinical trial management
services and consulting services as set forth herein, and CytoDyn desires to retain Amarex upon
the terms and conditions set forth herein.

   NOW, THEREFORE, in consideration of the premises and the mutual promises and
undertakings herein contained, the parties hereto agree as follows:

                                             SECTION 1

                                             SERVICES

1.1      Services. Amarex agrees to provide certain clinical trial management services and
         consulting services (the "Services") to CytoDyn as the parties may agree in writing in a
         Project Work Order (each "Project Work Order"). Each Project Work Order, including
         each Project Work Order entered into prior to the Effective Date, is meant to be a part of
         this Agreement and is expressly incorporated into this Agreement by reference for all
         purposes. All prior Project Work Orders entered into before the Effective Date are
         identified in Exhibit A. A representative form of Project Work Order is attached as
         Exhibit B. Each Project Work Order must be in writing and signed by both parties before
         Amarex commences the applicable Services. In the event of a conflict between the terms
         of a Project Work Order and this Agreement, the terms of this Agreement will control
         unless the Project Work Order references the conflict and states that the language of the
         Project Work Order controls.

1.2      Amending a Project Work Order. CytoDyn or Amarex may request changes in any
         Project Work Order (a "Change Proposal") by providing written notification of such
         changes to the other party. After the delivery of a Change Proposal, the parties will
         review the Change Proposal and negotiate in good faith any required changes to the
         related Project Work Order. If the parties reach agreement regarding the Change
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        Proposal, the parties will execute a new Project Work Order, which will modify
        referenced portions of the original Project Work Order.

1.3     Project Manager. Each Project Work Order will include primary contacts for both
        parties in connection with the performance of the Services (each a "Project Manager"). A
        Project Manager may be changed upon written notice to the other party.

                                             SECTION 2

                                            STANDARDS

2.1     Performance of Services. Amarex will perform the Services with due care and diligence
        in accordance with generally prevailing industry practices and standards and in
        accordance with all applicable laws and regulations and the terms and conditions of this
        Agreement and each Project Work Order.

2.2     Time is of the Essence. Amarex will perform the Services in an efficient and timely
        manner to achieve the timetables and milestones set forth in each Project Work Order.
        Amarex will notify CytoDyn in writing if it believes that there are likely to be substantial
        changes in any timetables or milestones contained in a Project Work Order. Such notice
        will include the reasons for changes to the schedule and will propose a new schedule.
        Amendments to a Project Work Order must be made in accordance with Section 1.2.

2.3     Debarment. Amarex hereby certifies that it is not a debarred or disqualified person or
        entity under the authority of the Generic Drug Enforcement Act of 1992, as amended, or
        any other law or regulation relating to the conduct of human research, and has not used
        and will take reasonable measures to avoid the use of services of any such debarred or
        disqualified person or entity in any capacity or connection with any of the services
        performed pursuant to this Agreement. This certification applies in respect of Amarex's
        colleagues, associates, agents and employees as well as third parties with which Amarex
        may subcontract. Amarex shall notify CytoDyn promptly in the event it or any such
        person or entity becomes subject to debarment or disqualification proceedings.

2.4     Records; Audit Rights. Amarex will maintain accurate, complete, and current records
        relating to all Services. Amarex will furnish to CytoDyn all data, information, and records
        maintained in connection with the Services as well as written reports of the process
        of the Services at reasonable times upon CytoDyn's request. CytoDyn shall be entitled,
        with at least 24 hours' prior notice, to audit and inspect records, facilities used, and the
        conduct of the Services relating to a Project Work Order under this Agreement. CytoDyn
        will not be responsible for payment to Amarex for time spent on audits.




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                                             SECTION 3

                               COMPENSATION AND PAYMENT


3.1     Compensation. CytoDyn agrees to pay Amarex the compensation for the Services as set
        forth in each Project Work Order.

3.2     Invoices. Amarex will invoice CytoDyn as set forth in each Project Work Order and
        payment is due thirty (30) days from the date of receipt of an invoice. All invoices and/or
        other requests for payment shall be itemized with a reasonable degree of specificity to
        ensure accuracy in accounting for the Services that were rendered and billed. All invoices
        and/or other requests for payment shall be sent to: Michael Mulholland at the address
        specified in Section 13. CytoDyn shall not be responsible for any invoices and/or other
        requests for payment sent to any address or department other than that provided
        immediately above. Payments to Amarex will be made out to Amarex Clinical Research,
        LLC (Tax ID: XX-XXXXXXX).

3.3     Disputes. Notwithstanding the foregoing, in the event CytoDyn in good faith disputes
        any invoice or portion thereof, within twenty-one (21) days of CytoDyn's receipt of
        the disputed invoice, CytoDyn will notify Amarex in writing with an explanation of
        the reasons for disputing the invoice, and payment of such invoice or portion thereof will
        not be due until the parties resolve such dispute, provided that CytoDyn will promptly
        pay the undisputed portion of any disputed invoice as set forth above. The parties
        shall negotiate in good faith to resolve any disputed amounts.

3.4     Suspension of Services. Amarex may suspend performance of all Services when any
        undisputed amount required to be paid by CytoDyn remains due and unpaid beyond the
        date such amount is due. If such unpaid amounts are not paid in accordance with Section
        3.2, Amarex may terminate this Agreement and all outstanding Project Work Orders in
        accordance with Section 8.02. In addition, Amarex's obligations to release the results of
        data analysis for any Data Safety Monitoring Board Meetings, Interim analyses, and/or
        Final Analyses to CytoDyn shall be conditioned upon the fulfillment of all payment
        obligations from CytoDyn for Services; provided, however, that the results for the Data
        Safety Monitoring Board Meeting, Interim analysis, or Final Analysis are to be released
        up to and through the date of suspension, if paid for, whether or not such amounts
        are past the 30-day payment period.

3.5     U.S. Dollars. All invoices and/or other requests for payment shall be billable and payable
        in U.S. Dollars unless otherwise agreed upon in writing by both parties.

3.6     Late Charges. Except with respect to disputed invoices or amounts, Amarex may, at its
        option charge interest on the overdue account balance at the rate of 1.0% per month.



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                                             SECTION 4

                                       CONFIDENTIALITY

4.1     Confidential Information. For purposes of this Agreement "Confidential Information"
        means all information provided by or on behalf of one party (the "Disclosing Party") to
        the other party in connection with this Agreement and the Services including without
        limitation, all business information, pricing, proprietary software and programs, data,
        inventions, and information acquired or developed in or as a result of the performance of
        this Agreement, whether in oral, written, graphic or electronic form. Without limiting the
        generality of the foregoing, all Client Materials (as defined in Section 5.2) shall be
        deemed the "Confidential Information" of CytoDyn. Each party agrees, with respect to
        any Confidential Information disclosed to such party (the "Receiving Party") by the
        Disclosing Party hereunder: (a) to use such Confidential Information only for the
        purposes set forth in this Agreement; (b) only disclose Confidential Information to those
        employees, agents, and consultants who need to know and who are aware of their
        obligations under this Section 4; (c) to receive, maintain and hold the Confidential
        Information in strict confidence and to use the same methods and degree of care (but at
        least reasonable care) to prevent disclosure of such Confidential Information as it uses to
        prevent disclosure of its own proprietary and Confidential Information and to protect
        against its dissemination to unauthorized parties; (d) not to disclose, or authorize or
        permit the disclosure of any Confidential Information to any third party without the prior
        written consent of the Disclosing Party; and (e) except as needed to fulfill its obligations
        hereunder, to return or destroy any Confidential Information to the Disclosing Party at the
        request and cost of the Disclosing Party and to retain no copies or reproductions thereof,
        except that the Receiving Party may retain a single archival copy of the Confidential
        Information for the sole purpose of determining the scope of obligations incurred under
        this Agreement.

4.2     Exclusions. The Receiving Party shall not be obligated to treat information as
        Confidential Information of the Disclosing Party if the Receiving Party can show by
        competent written evidence that such information: (a) was already known to the
        Receiving Party without any obligations of confidentiality prior to receipt from the
        Disclosing Party; (b) was generally available to the public or otherwise part of the public
        domain at the time of its disclosure to the Receiving Party; (c) became generally available
        to the public or otherwise part of the public domain after its disclosure, other than
        through any act or omission of the Receiving Party in breach of any obligation of
        confidentiality; (d) was disclosed to the Receiving Party, by a third party who was not
        under any obligation, direct or indirect, to Disclosing Party with respect to confidentiality
        or non-use; or (e) was independently discovered or developed by the Receiving Party
        without the use of or reference to the Disclosing Party's Confidential Information.

4.3     Disclosure Pursuant to an Order. Notwithstanding Section 4.1, the Receiving Party
        may disclose Confidential Information, without violating its obligations under Section 4,
        to the extent the disclosure is required by a valid order of a court or other governmental
        body having jurisdiction; provided, however, that the Receiving Party gives reasonable
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        prior written notice to the Disclosing Party of such required disclosure in order to allow
        Disclosing Party, at its option, to seek a protective order preventing or limiting the
        disclosure and/or requiring that the Confidential Information so disclosed be used only
        for the purposes for which the law or regulation requires, or for which the order was
        issued.

4.4     Remedies. The parties expressly acknowledge and agree that any breach or threatened
        breach of this Section 4 may cause immediate and irreparable harm to the Disclosing
        Party which may not be adequately compensated by damages. Each party therefore
        agrees that in the event of such breach or threatened breach and in addition to any
        remedies available at law, the Disclosing Party shall have the right to seek equitable and
        injunctive relief, without bond, in connection with such a breach or threatened breach.

4.5     Publicity. All publicity, press releases, and other disclosures or announcements relating
        to this Agreement shall be reviewed in advance by, and subject to the approval of, both
        parties (which approval shall not be unreasonably withheld); provided, however, that
        either party may (a) disclose the terms of this Agreement insofar as required to comply
        with regulatory obligations as the sponsor of an IND, NDA, BLA, 510K, IDE, or PMA or
        applicable securities laws, provided that in the case of such disclosures the party
        proposing to make such disclosure notifies the other party reasonably in advance of such
        disclosure and cooperates to minimize the scope and content of such disclosure, and (b)
        disclose the terms of this Agreement to such party's investors, professional advisors or
        potential investors, acquirers, or merger candidates who are bound by obligations of
        confidentiality and non-use consistent with those set forth herein. The failure of a party to
        respond in writing to a publication proposal from the other party within five working
        days of such party's receipt of such publication shall be deemed as such party's approval
        of such publication as received by such party. Each party agrees that it shall cooperate
        fully and in a timely manner with the other with respect to any disclosures to the
        Securities and Exchange Commission and any other governmental or regulatory agencies,
        including requests for confidential treatment of Confidential Information of either party
        included in any such disclosure.

4.6     Survival. All obligations of this Section 4 shall expire 3 years after the termination or
        expiration of this Agreement; provided, however, that Confidential Information which
        constitutes the trade secrets of a party if expressly labeled or identified as such by the
        Disclosing Party at the time of disclosure shall be kept confidential indefinitely, subject
        to the limitations set forth in Sections 4.2 and 4.3.

                                             SECTION 5

                            OWNERSHIP OF CLIENT MATERIALS
                             AND INTELLECTUAL PROPERTY

5.1     Deliverables. "Deliverables" is defined as everything prepared by Amarex pursuant to
        this Agreement, including without limitation, reports, all materials, manuals, studies and
        all other documents.
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5.2    Ownership of Client Materials, Deliverables and CytoDyn's Confidential Information.
       Except that Amarex shall own all rights, title and interest to any innovative methodology
       developed which has generic applications and is not specific to any particular CytoDyn
       Project, CytoDyn owns all right, title and interest, including all patents, copyrights,
       trademarks, and all other intellectual property or other proprietary rights, in and to all
       information, materials, documents and raw data (i) supplied to Amarex, including without
       limitation clinical data, in connection with this Agreement; (ii) developed by Amarex as a
       result of performing the Services, including without limitation any Deliverables; and (iii)
       CytoDyn's Confidential Information (all such information and materials, "Client
       Materials"). All Deliverables are works made for hire and Amarex hereby assigns all right,
       title and interest, including all patents, copyright, trademarks and any other intellectual
       property or other proprietary rights in the Deliverables to CytoDyn. Amarex will take all
       action reasonably requested by CytoDyn to vest ownership of any of the Deliverables in
       CytoDyn and to permit CytoDyn to seek patent, copyright, trademark or similar protection
       in its name.
                                             SECTION 6

               DATA SECURITY AND RETURN OF CLIENT MATERIALS

6.1     Privacy.

               (a)     Amarex will use Client Materials only for the purpose of fulfilling its
        duties under this Agreement and for CytoDyn's sole benefit, and will not share Client
        Materials with or disclose it to any third party without the prior written consent of
        CytoDyn or as otherwise required by law.

               (b)    All Client Materials will be stored on servers, located solely within the
        Continental United States.

6.2     Data Security and Integrity

        (a)             All facilities used to store and process Client Materials will employ
        commercial best practices, including appropriate administrative, physical, and technical
        safeguards, to secure such data from unauthorized access, disclosure, alteration, and use.
        Such measures will be no less protective than those used to secure Amarex's own data of a
        similar type, and in no event less than reasonable in view of the type and nature of the data
        involved. Without limiting the foregoing, Amarex warrants that all Client Materials will be
        encrypted in transmission (including via web interface) and storage at no less than 128‐bit
        level encryption, and that Amarex will comply with all other technical specifications
        identified in writing by CytoDyn.

                (b)    To the extent applicable, the Services follow and comply with all
        regulatory guidelines for using controlled and secure computing environments with
        validated software and systems, including 21 CFR 11.


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                 (c)    Amarex will use industry‐standard security tools and technologies such as
        anti‐virus protections and intrusion detection methods in providing the Services under this
        Agreement

                (d)      Amarex will provide CytoDyn upon request the results of any security
        audits, scans and tests, and will promptly modify its security measures as needed based
        on those results in order to meet its obligations under this Agreement. CytoDyn may
        require, at its expense, Amarex to perform additional audits and tests, the results of which
        will be provided promptly to CytoDyn.

6.3     Data Integrity

        Amarex will take commercially reasonable measures, including regular data integrity
        audits, to protect Client Materials against deterioration or degradation of data quality and
        authenticity.
6.4     Response to Legal Orders, Demands or Requests for Client Materials

                (a)     Except as otherwise expressly prohibited by law, Amarex will:

                        (i)     immediately notify CytoDyn of any subpoenas, warrants, or other
                                legal orders, demands or requests received by Amarex seeking any
                                Client Materials;

                        (ii)    consult with CytoDyn regarding its response;

                        (iii)   cooperate with CytoDyn's reasonable requests in connection with
                                efforts by CytoDyn to intervene and quash or modify the legal
                                order, demand or request; and

                        (iv)    upon CytoDyn's request, provide CytoDyn with a copy of its
                                response.

               (b)     If CytoDyn receives a subpoena, warrant, or other legal order, demand or
        request seeking any Client Materials maintained by Amarex, CytoDyn will promptly
        provide a copy to Amarex. Amarex will promptly supply CytoDyn with copies of data
        required for CytoDyn to respond, and will cooperate with CytoDyn's reasonable requests
        in connection with its response.

6.5     Data Compromise Response.

               (a)     Immediately upon becoming aware of a Data Compromise, or of
        circumstances that could have resulted in unauthorized access to or disclosure or use of
        Client Materials, Amarex will notify CytoDyn, fully investigate the incident, and
        cooperate fully with CytoDyn's investigation of and response to the incident. Except as


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        otherwise required by law, Amarex will not provide notice of the incident directly to,
        regulatory agencies, or other entities, without prior written permission from CytoDyn.

               (b)     Notwithstanding any other provision of this Agreement, and in addition to
        any other remedies available to CytoDyn under law or equity, Amarex will reimburse
        CytoDyn in full for all costs incurred by CytoDyn in investigation and remediation of
        such Data Compromise, including but not limited to providing notification to third parties
        whose data were compromised and to regulatory agencies or other entities as required by
        law or contract; and the payment of legal fees, audit costs, fines, and other fees imposed
        by regulatory agencies or contracting partners as a result of the Data Compromise,
        provided that the Data Compromise was directly caused by Amarex gross negligence.

                (c)    For purposes of this Agreement, "Data Compromise" means a
        security‐relevant event in which the security policy of a system used to create, transmit,
        maintain, use, process, or store data is disobeyed or otherwise breached, and in which
        Client Materials are exposed to unauthorized disclosure, access, alteration, or use.

6.6     Retention and Disposal of Client Materials.

               (a)    Using appropriate and reliable storage media, Amarex will regularly back
        up Client Materials.

                (b)    Amarex will immediately place a "hold" on the destruction under its usual
        records retention policies of records that include Client Materials, in response to an oral
        or written request from CytoDyn indicating that those records may be relevant to litigation
        that CytoDyn reasonably anticipates. Oral requests by CytoDyn for a hold on record
        destruction will be reduced to writing and supplied to Amarex for its records as soon
        as reasonably practicable under the circumstances. CytoDyn will promptly coordinate
        with Amarex regarding the preservation and disposition of these records. Amarex shall
        continue to preserve the records until further notice by CytoDyn.

6.7     Transfer of Client Materials Upon Termination or Expiration.

                 (a)    Upon termination or expiration of this Agreement, Amarex will ensure
        that all Client Materials are transferred to CytoDyn or a third party designated by CytoDyn
        securely, within a reasonable period of time, not to exceed more than thirty (30) days.
        Amarex will ensure that such migration uses facilities and methods are compatible with
        the relevant systems of the transferee, and to the extent technologically feasible, that
        CytoDyn will have reasonable access to Client Materials during the transition.

                 (b)     Amarex will notify CytoDyn of impending cessation of its business and any
        contingency plans in the event of notice of such a failure. This includes immediate transfer
        of any previously escrowed assets and data and providing CytoDyn access to Amarex's
        facilities to remove and destroy CytoDyn‐owned assets and data. Amarex shall implement
        its exit plan and take all necessary actions to ensure a smooth transition of service with
        minimal disruption to CytoDyn. Amarex will provide a fully documented service
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        description and perform and document a gap analysis by examining any differences
        between its services and those to be provided by its successor. Amarex will also provide a
        full inventory and configuration of servers, routers, other hardware, and software involved
        in service delivery along with supporting documentation, indicating which if any of these
        are owned by or dedicated to CytoDyn. Amarex will work closely with its successor to
        ensure a successful transition to the new equipment, with minimal downtime and effect on
        CytoDyn, all such work to be coordinated and performed in advance of the formal, final
        transition date.

                                             SECTION 7

                                   TERM AND TERMINATION

7.1     Term. This Agreement shall be effective from the date shown in the first paragraph on
        the first page and shall thereafter remain in full force and effect until terminated
        in accordance with this Section 7.

7.2     Termination for Convenience. Either party may terminate this Agreement and/or any
        outstanding Project Work Orders by providing the other party with 30 days' prior
        written notice.

7.3     Termination – Opportunity to Cure. Either party may terminate this Agreement and/or
        any outstanding Project Work Orders if, after 30 days' written notice, the other party fails
        to cure a material breach of any obligation, representation, or warranty in this Agreement
        and/or a Project Work Order.

7.4     Termination – Immediate.

                (a)    Effective upon receipt, either party may terminate this Agreement
        immediately by giving written notice of that party’s insolvency or bankruptcy or
        assignment for the benefit of its creditors, upon appointment of a trustee or receiver for
        the other party of all or substantially all of its property, or filing of a voluntary or
        involuntary petition by or against the other party under any bankruptcy or insolvency law,
        the reorganization or rearrangement provisions of the United States Bankruptcy Code, or
        any similar law.

                (b) If this Agreement is terminated pursuant to this Section 7.4, Amarex shall be
        entitled to retain any sums paid to it by Cytodyn for Services and payment for Services
        performed but not yet paid.

7.5     Expiration. If not sooner terminated, this Agreement will expire two years after the
        last to expire Project Work Order. Any payments due under this Section 8 shall be
        made within 30 days after termination.



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7.6     Effects of Termination.

                   (a) Following termination pursuant to Section 7.2 or 7.3, Amarex will use
        commercially reasonable efforts to conclude outstanding Project Work Orders as
        expeditiously as possible, but in no event later than the termination date. In addition,
        Amarex shall use commercially reasonable efforts to eliminate further costs, and to
        cancel, if permitted under the terms of applicable agreements, any third party obligations.
        Except as agreed to in writing by CytoDyn, Amarex will not undertake any new Project
        Work Orders, incur expenses other than those required to conclude the outstanding Project
        Work Orders, or enter into further commitments after receiving or delivering such notice
        of termination. CytoDyn will compensate Amarex for Services actually performed and
        will reimburse Amarex for expenses actually and reasonably incurred in connection with
        winding up outstanding Project Work Orders, including without limitation work in
        progress and non-cancelable commitments with supporting documentation, through the
        date of termination. Notwithstanding the foregoing, if CytoDyn has paid for the
        Services in advance and such payment is in excess of the Services actually rendered,
        Amarex will refund CytoDyn the excess amount within 30 days after the completion of
        all Services. Within 30 days after the completion of all Services (which includes receipt
        by CytoDyn of any statistical analyses and other deliverables prepared by Amarex and
        paid for by CytoDyn, if any, prior to the date of termination), Amarex shall provide
        CytoDyn with a written itemized statement of all Services.

                (b)    If CytoDyn terminates this Agreement pursuant to Section 7.4, CytoDyn
        will compensate Amarex for Services actually performed and reimburse for expenses
        actually and reasonably incurred up to and including the date of termination.

                (c)     If CytoDyn terminates this Agreement pursuant to Section 7 .2, Amarex
        shall be entitled to the amounts set forth in Section 7.5(a) plus ten percent (10%) of the
        remaining unbilled contract amount for Amarex’s Services (i.e., non-passthrough related
        costs).

                (d)    Termination of this Agreement shall be without prejudice to any rights
        that shall have accrued to the benefit of either party prior to such termination, and shall
        not relieve either party of any obligations that have accrued to the other party prior to
        such termination or that survive such termination.




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                                             SECTION 8

                                       INDEMNIFICATION

8.1     Indemnification by CytoDyn. CytoDyn will defend, indemnify and hold harmless
        Amarex and its directors, officers, employees, and agents (collectively, "Amarex
        Indemnitees") from and against all liabilities (including, but not limited to, personal
        injury or property damage), losses, costs, expenses (including reasonable attorneys' fees
        and court or arbitral tribunal fees and costs), penalties, fines, judgments, damages and/or
        amounts in settlement (collectively, "Losses") that may be incurred by the Amarex
        Indemnitees or asserted or claimed against the Amarex Indemnitees by one or more third
        parties solely to the extent and proportion such Losses: (a) arise from, or are attributable
        to (by judicial determination), any negligent or wrongful act or omission of CytoDyn or
        its employees in connection with this Agreement; or (b) result from any breach of this
        Agreement by CytoDyn, its directors, officers, employees, or agents. However, in no
        instance shall CytoDyn be responsible to any Amarex Indemnitee to the extent and
        proportion that such Losses are caused by any wrongful or negligent act or omission of
        any Amarex Indemnitee.

8.2     Indemnification by Amarex. Amarex will defend, indemnify and hold harmless
        CytoDyn and its directors, officers, employees, volunteers, and agents (collectively,
        "CytoDyn Indemnitees") from and against all liabilities (including personal injury or
        property damage), losses, costs, expenses (including reasonable attorneys' fees and court
        or arbitral tribunal fees and costs), penalties, fines, judgments, damages and/or amounts
        in settlement (collectively, "Losses") that may be incurred by the CytoDyn Indemnitees
        or asserted or claimed against the CytoDyn Indemnitees by one or more third parties
        solely to the extent and proportion such Losses: (a) arise from, or are attributable to (by
        judicial determination), any negligent or wrongful act or omission of Amarex or its
        employees in connection with this Agreement, the Services, or any Deliverables; or (b)
        result from any breach of this Agreement by Amarex, its directors, officers, employees or
        agents. However, in no instance shall Amarex be responsible to any CytoDyn Indemnitee
        to the extent and proportion that such Losses are caused by any wrongful or negligent act
        or omission of any CytoDyn Indemnitee.

8.3     Procedure. Any party seeking indemnification pursuant to this Section 8 (the
        "Indemnitee") shall promptly notify the other party (the "Indemnitor") in writing of any
        action, claim or other matter in respect of which such party, intends to claim such
        indemnification; provided, however, that failure to provide such notice within a
        reasonable period of time shall not relieve the Indemnitor of any of its obligations
        hereunder except to the extent the Indemnitor is prejudiced by such failure. The
        Indemnitee shall cooperate in the defense of such claim, proceeding or investigation,
        subject to reimbursement by the Indemnitor for all reasonable out-of-pocket expenses.
        The Indemnitor shall, at its option, assume control of the defense of any such claim,
        proceeding or investigation. The indemnities set forth in Sections 8.01 and 8.02 shall
        include amounts paid in settlement, provided, however, that no such settlement shall be
        entered into without the Indemnitor's consent, which consent shall not be unreasonably
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        withheld. In no event shall the Indemnitor compromise or settle any claim, proceeding or
        investigation in a manner that admits fault or negligence on the part of the Indemnitee, or
        that would otherwise adversely affect any rights of the Indemnitee, without the prior
        written consent of the Indemnitee. The Indemnitee shall have the right to retain separate
        legal counsel at its own expense.

                                             SECTION 9

            LIMITED WARRANTY; REMEDY; LIMITATION OF LIABILITY

9.1    Limited Warranty. Amarex warrants that it shall provide the Services as set forth in
       Section 2.1.

9.2    Remedy. CytoDyn's remedy for a breach of the warranty set forth in Section 9.1 is, at
       CytoDyn's option, either (a) re-performance of the applicable Services at no charge to
       CytoDyn or (b) return of the fees paid in connection with the applicable Services.

9.3    Limitation of Liability and Damage. Except with respect to its indemnification
       obligations under Section 8, under no circumstances shall Amarex be liable to the CytoDyn
       or any third party claiming by or through CytoDyn as a result of Amarex's failure to
       perform the Services, for any consequential, indirect, or special damages, and the
       warranty set forth in Section 9.1 is in lieu of any and all other warranties relating to the
       Services, express or implied, including, without limitation, any implied warranties of
       merchantability or fitness for a particular purpose, or for non-infringement of intellectual
       property rights. In no event shall Amarex be responsible or liable for an aggregate
       damage total in excess of the value paid by CytoDyn for the Services under the applicable
       Project Work Order giving rise to damages; provided, however, that this limitation does
       not apply in the event of Amarex's gross negligence or willful misconduct or in the event
       of Amarex's material breach of the confidentiality provisions of this Agreement.

                                            SECTION 10

                                            INSURANCE

10.1 While a Project Work Order is outstanding, Amarex must maintain a policy or policies of
      comprehensive general liability, in a minimum amount of $1,000,000 per occurrence and
      $3,000,000 in the aggregate with respect to personal injury, bodily injury, and property
      damage. Upon request, Amarex will submit certificates of such insurance policy to
      CytoDyn. If CytoDyn desires that Amarex carries insurance in excess of what Amarex
      currently maintains, CytoDyn will be responsible for the cost of that additional insurance.




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                                            SECTION 11

                                 RELATIONSHIP OF PARTIES

11.1 Independent Contractor. Amarex shall perform services under this Agreement only as
      An independent contractor and nothing contained herein shall be construed to be
      inconsistent with that relationship or status. Amarex and its consultants and
      subcontractors shall not be considered employees or agents of CytoDyn. This Agreement
      shall not constitute, create or in any way be interpreted as a joint venture, partnership or
      business organization of any kind.

                                          SECTION 12
                                       NON-SOLICITATION

12.1   Neither party shall, during the term of this Agreement, and for a period of twelve (12)
       months following expiration or termination thereof, without the prior written consent of the
       other party, for itself or on behalf of or through any third party, directly or indirectly,
       solicit to employ or engage as an independent contractor, any employee or consultant of the
       other party who was in any way involved in rendering or receiving Services under this
       Agreement or any Project Work Order. Notwithstanding the above, the following shall not
       be prohibited: (a) any solicitation if, at the time of such solicitation, the individual is no
       longer employed by the other party as an employee or independent contractor for reasons
       not associated with pursuing a future business or employment relationship with the soliciting
       party; (b) solicitations initiated through general newspaper advertisements and other
       general circulation materials, including web-based postings, not directly targeted at such
       individuals; and (c) solicitations of such individuals who have first contacted either party
       on their own initiative, directly or through third party recruiters, regarding employment or
       engagement as an independent contractor.

                                            SECTION 13
                                              NOTICE

13.1    Routine Communications. All routine communications provided for in this Agreement
        shall be sent via first class mail (subject to Section 13.2 below), postage prepaid, addressed
        to the respective parties as follows:

        To Amarex:                                            To CytoDyn:

        Kazem Kazempour                                       Michael Mulholland
        President and CEO                                     Chief Financial Officer
        Amarex Clinical Research, LLC                         CytoDyn Inc.
        20201 Century Boulevard, Suite 450                    1111 Main Street, Suite 660
        Germantown, MD 20874                                  Vancouver, WA 98660



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13.2    Required Communications. Other than routine correspondence, any communication
        required under this Agreement shall be sent by certified mail, return receipt requested,
        and addressed to the respective parties at the addresses set forth in Section 13.1 above.
        Such notices shall be effective upon receipt.

                                            SECTION 14

                                        NO ASSIGNMENT

14.1    Neither party may assign any rights this Agreement or any of its rights or obligations
        hereunder without the prior written consent of the other party.

                                             SECTION 15

                                         MISCELLANEOUS

15.1    Entire Agreement; Amendment. This Agreement constitutes the entire agreement
        between the parties on the subject matter to be described and defined in future Project
        Work Orders and supersedes all prior contracts, agreements and understandings relating to
        the same subject between the parties. The parties intend this Agreement to be a
        complete statement of the terms of their agreement and no change or modification of any of
        the provisions of this Agreement shall be effective unless it is in writing and signed by a
        duly authorized officer of Amarex and CytoDyn.

15.2    Counterparts. This Agreement may be signed in any number of counterparts, which,
        when taken together, will constitute one and the same Agreement.

15.3    Governing Law. This Agreement shall be governed by the laws of the State of Maryland,
        U.S.A.

15.4    Dispute Resolution. The parties will make a reasonable effort to resolve any claims
        which they may have against each other by good faith negotiation. A party's failure to
        make such an effort, however, will not be a prerequisite to its right to arbitrate. All claims
        arising under or relating to this Agreement, including any claims created by statutory law,
        will be decided by final and binding arbitration. The arbitration will be held in Baltimore,
        Maryland, and will be conducted according to the applicable rules of Commercial
        Arbitration Rules of the American Arbitration Association, using a panel of one arbitrator
        who will be selected in accordance with such rules. This provision will provide the
        exclusive means for dispute resolution, provided, however, that neither party will be
        prohibited from proceeding in a court to seek injunctive relief or other equitable remedies
        pending arbitration. The parties will share equally in the costs of any arbitration, but a
        prevailing party will be entitled to receive, as a part of the award, its reasonable arbitrator
        and attorney fees incurred in connection with the arbitration as provided in Section 15.5.
        Judgment on an arbitration award may be entered by any court having jurisdiction.

15.5    Attorney Fees. In any arbitration or litigation concerning this Agreement, including
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         without limitation any proceeding under the U.S. Bankruptcy Code, the prevailing party
         will be entitled to recover all reasonable costs and expenses of arbitration or litigation,
         including reasonable attorney fees at arbitration, at trial, and on any appeal or petition for
         review. For purposes of this Agreement, "prevailing party" means the party that prevails
         (whether affirmatively or by means of a successful defense) with respect to claims having
         the greatest value or importance as reasonably determined by the arbitrator or court.

15.6     Force Majeure. Neither party shall be deemed in breach of its obligations, if such failure or
         delay is due to, and only for so long as there exists, natural disasters or any other causes
         reasonably beyond the control of the parties.

15.7     Severability. The invalidity or unenforceability of any term or provision of this
         Agreement shall not affect the validity or enforceability of any other term or provision of
         this Agreement.


IN WITNESS THEREOF, the parties have executed this Agreement as of the Effective Date.

For and on behalf of CytoDyn Inc.:                   For and on behalf of Amarex Clinical
                                                     Research, LLC:
Print Name:       Nader Pourhassan                   Print Name:   Kazem Kazempour

Signature:                                           Signature:

Title:            President and CEO                  Title:           President and CEO (Member)


Date:                                                Date:




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                                             EXHIBIT A

                     Outstanding Project Work Orders as of the Effective Date


1.      Project Order [CD104]_Substitution, dated        , 2014.
2.      Project Order [CD105], dated             , 2014.
3.      Project Order CD102_IB, as amended on October 9, 2013.




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                                  EXHIBIT B

                            Form Project Work Order

See attached.
